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IN THE UNITED STATES DISTRICI` COURT
FOR THE MIDDLE DISTRICI` OF FLORIDA
JACKSONVILLE DIVISION

KRISTI HUFFMAN, individually and On
behalf of all others similarly situated

Plaintiff

v. Case No. 3:15-cv-01252-TJC-MCR

NATIONSTAR MORTGAGE HOLDINGS, INC.

WVVVVVVWV

Defendant.

 

NOTICE OF SETTLEMENT

COME NOW, Plaintiff, KRISTI HUFFMAN, by and through her undersigned
counsel, and hereby provides notice that Plaintiff and Defendant, NATIONSTAR MORTGAGE
HOLDINGS, INC., have reached a resolution of the dispute that is the subject of this lawsuit. The
parties are presently formalizing the terms of that resolution into a written settlement agreement
and will file an appropriate notice of dismissal (anticipated within 45 days) upon the completion
of certain obligations set forth in their agreement

/s/ Max Storv, Esquire

MAX STORY, ESQ.

Florida Bar: 0527238

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Jacksonville Beach, FL 32250
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Attorney for Plaintiff

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on April l l , 2016, l electronically filed the foregoing with Clerk
of the Court using the CM/ECF. l also certify that the foregoing document is being served this
day on all counsel either via transmission of Notices of Electronic Filing generated by CM/ECF
or in some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic Filing.

/s/ Max Sto Es uire
Florida Bar No. 527238

